            Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

EAGLES LANDING DAYCARE &                                          )
LEARNING CENTER,                                                  )
                                                                  )
                    Plaintiff,                                    )
                                                                  )        CIVIL ACTION FILE
    v.                                                            )
                                                                  )        NO. 1:14-CV-00465-RLV
SPARTA INSURANCE COMPANY,                                         )
                                                                  )
                    Defendant.                                    )


     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION
      TO DISMISS OR, IN THE ALTERNATIVE, MOTION TO COMPEL
                  APPRAISAL AND STAY DISCOVERY

           COMES NOW, Defendant SPARTA INSURANCE COMPANY and files

this, its Memorandum of Law in Support of its Motion to Dismiss or, in the

Alternative, Motion to Compel Appraisal and Stay Discovery, showing this

Honorable Court as follows1:

                                         STATEMENT OF FACTS

           Plaintiff has filed suit in this action alleging Breach of Contract and Bad

Faith against its insurer, Sparta Insurance Company. (See Complaint). Plaintiff

held a policy of insurance with Sparta Insurance Company (hereinafter “Sparta”),

policy number 016CP01044.                       (See Complaint; See Insurance Policy, attached

1
    For the sake of brevity, Defendant merely recites the facts of the case germane to this Motion.
       Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 2 of 7



hereto as Exhibit “A”). During the term of the insurance policy, Plaintiff suffered

a property loss as a result of hail and storm damage. (See Complaint). Plaintiff

instituted a claim with Sparta for the property loss. (See Complaint).

      During the pendency of the claim, a dispute over the value of the claim

arose, and Plaintiff filed suit alleging Breach of Contract and Bad Faith for failure

to pay the claim. Following a second inspection of the premises by an expert

engineer, on April 1, 2014 Sparta issued a payment to the insured Plaintiff in the

amount of $138,443.68, representing the uncontested portion of the loss. (See

Correspondence dated April 1, 2014, attached hereto as Exhibit “B”).

      The policy at issue contains the following provision:

       If we and you disagree on the value of the property or the amount of loss,
either may make written demand for an appraisal of the loss. In this event, each
party will select a competent and impartial appraiser. The two appraisers will
select an umpire. If they cannot agree, either may request that selection be made
by a judge of a court having jurisdiction. The appraisers will state separately the
value of the property and amount of loss. If they fail to agree, they will submit
their differences to the umpire. A decision agreed to by any two will be binding.
Each party will:
       a.     Pay its chosen appraiser;
       b.      Bear the other expenses of the appraisal and umpire equally.

      If there is an appraisal, we still retain our right to deny the claim.

(See Exhibit “A”, Building and Personal Property Coverage Form, page 9 of 15).

      In the same April 15, 2014 correspondence transmitting the undisputed

portion of the payment, Defendant indicated to Plaintiff’s counsel that the contract

required, if a disagreement over the amount of the loss arose, that either party
                                         -2-
       Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 3 of 7



could make a written demand for appraisal of the loss, that appraisal was the

appropriate mechanism to resolve a dispute, and that Plaintiff had not requested the

appraisal. (See Exhibit B). On May 15, 2014, Defendant made a formal demand

for appraisal, to which Plaintiff has not agreed. (See May 15, 2014

correspondence, attached hereto as Exhibit “C”).

               ARGUMENT AND CITATION OF AUTHORITY

      “The appraisal process is not merely a prerequisite to filing suit, but the

method by which the parties have contractually agreed to settle their differences

with regard to the amount of loss.” S. Gen. Ins. Co. v. Kent, 187 Ga. App. 496

(1988). An insured is “contractually bound to submit to this method of resolving

its dispute with defendant over the amount of the loss.” Brothers Generali U.S.

Branch, 1997 WL 57868 (N.D. Ga. 1997)(citing S. Gen. Ins. Co. v. Kent). “It is

clear, therefore, that plaintiff is not entitled to recover under the policy unless and

until the appraisal process has been completed and defendant has failed to make

payment in accordance with the appraisal award.” Id., at *3. Where a Plaintiff’s

Complaint fails to state that this has occurred, it fails to state a claim upon which

relief can be granted and should be dismissed. See id.

      Thus, Defendant respectfully requests this Complaint be dismissed, as

Plaintiff has not complied with the condition precedent to filing suit of submitting




                                         -3-
       Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 4 of 7



to the appraisal process. Since this is a case over the value of the claim, appraisal

is the proper method by which to resolve the claim.

      Should the Court not dismiss Plaintiff’s claims, at the very least the Court

should issue an Order compelling Plaintiff to comply with the contractually agreed

to appraisal process, staying discovery during the pendency thereof. Defendant

should not have to expend the time or money on discovery while the contractually

agreed to appraisal occurs and, after which, there will almost certainly be no need

for discovery.

                                 CONCLUSION

      For the foregoing reasons, Defendant respectfully requests this Court either

dismiss the suit against Defendant or issue an order compelling Plaintiff to comply

with the contractually agreed to appraisal process and stay discovery filing the

process.

      This 27th day of May 2014.

                                SWIFT, CURRIE, McGHEE & HIERS, LLP

                                By:    _/s/ Pamela N. Lee ______________
                                       Pamela Newsom Lee
                                       Georgia State Bar No. 198981

                                       Attorney for Defendant
                                       SPARTA INSURANCE                COMPANY




                                        -4-
      Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 5 of 7




The Peachtree, Suite 300
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309
Telephone: (404) 874-8800
Facsimile: (404) 888-6199
Pamela.lee@swiftcurrie.com




                                   -5-
         Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 6 of 7



          CERTIFICATE OF FONT & CERTIFICATE OF SERVICE

      I hereby certify that the foregoing documents were prepared in Times New

Roman 14-point font in conformance with Local Rule 5.1(c), and that I have

served    a   copy   of    MEMORANDUM          OF   LAW       IN   SUPPORT    OF

DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S CLAIM OR, IN THE

ALTERNATIVE,         MOTION        TO    COMPEL     APPRAISAL       AND      STAY

DISCOVERY upon all counsel of record, by electronic filing and/or United States

mail, postage prepaid, and properly addressed as follows:

                                Jeffrey D. Diamond
                          Law Offices of Jeffrey D. Diamond
                          3330 Cumberland Blvd., Suite 600
                               Atlanta, Georgia 30339

                                   Bill L. Voss
                                 Scott G. Hunziker
                                The Voss Law Firm
                               The Voss Law Center
                                26619 Interstate 45
                            The Woodlands, Texas 77380

      This 27th day of May 2014.

                                 SWIFT, CURRIE, McGHEE & HIERS, LLP

                                 By:    _/s/ Pamela N. Lee ______________
                                        Pamela Newsom Lee
                                        Georgia State Bar No. 198981

                                        Attorney for Defendant
                                        SPARTA INSURANCE COMPANY



                                        -6-
         Case 1:14-cv-00465-TWT Document 14-1 Filed 05/30/14 Page 7 of 7



The Peachtree, Suite 300
1355 Peachtree Street, N.E.
Atlanta, Georgia 30309-3231
Telephone: (404) 874-8800
Facsimile: (404) 888-6199
Pamela.lee@swiftcurrie.com




                                      -7-
 2782109v.1
